

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-74,000-02






JEFFREY KROTTINGER BROOKS, Relator


v.


TARRANT COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NOS. C-3-0091479-1113943-A &amp; C-3-009148-1113945-A

IN THE CRIMINAL DISTRICT COURT NUMBER THREE 

FROM TARRANT COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed applications for writs of habeas corpus in
the Criminal District Court Number Three of Tarrant County, that more than 35 days have elapsed,
and that the applications have not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Tarrant County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); or stating that
Relator has not filed an application for habeas corpus in Tarrant County.  Should the response
include an order designating issues, proof of the date the district attorney's office was served with
the habeas application shall also be submitted with the response. 

	This application for leave to file a writ of mandamus shall be held in abeyance until the
respondent has submitted the appropriate response.  Such response shall be submitted within 30 days
of the date of this order.



Filed: June 15, 2011

Do not publish	


